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                IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                             PENSACOLA DIVISION


UNITED STATES OF AMERICA

vs.                                                     3:05cr87/RV
                                                        3:06cv559/RV/MD

RODRIGO MARTINEZ-ULLOA


                          REPORT AND RECOMMENDATION

        This matter is before the court upon a motion to vacate, set aside, or correct
sentence pursuant to 28 U.S.C. §2255 (doc. 114). The government has filed a response
(doc. 116) and the defendant has filed a reply (doc. 121). The matter is referred to the
undersigned magistrate judge for report and recommendation pursuant to 28 U.S.C. § 636
and N.D. Fla. Loc. R. 72.2(B). After a careful review of the record and the arguments
presented, it is the opinion of the undersigned that defendant has not raised any issue
requiring an evidentiary hearing, Rules Governing Section 2255 Cases 8(a) and (b), and
that the motion should be denied.


I. BACKGROUND
        Defendant was charged in five counts of a six count indictment as follows: count
one: conspiracy to possess with intent to distribute 50 grams or more of a mixture and
substance containing methamphetamine and 500 grams or more of a mixture and
substance containing cocaine in violation of 21 U.S.C. §§ 841(a) and 841(b)(1)(B)(viii) and
(b)(1)(B)(ii); count two: possession with intent to distribute 50 grams or more of a mixture
and substance containing methamphetamine and 500 grams or more of a mixture and
substance containing cocaine on a date certain in violation of 21 U.S.C. §§ 841(a) and
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841(b)(1)(B)(viii); count three: possession of a firearm during and in furtherance of a drug
trafficking crime in violation of 18 U.S.C. § 924(c); count four: possession of machine guns
in violation of 18 U.S.C. § 922(o) and § 924(a)(2); count five: felon in possession of
firearms in violation of 18 U.S.C. § 922(g). (Doc. 16).1 Defendant was represented by
appointed counsel Kenneth Riddlehoover. Following a two day jury trial, defendant was
found guilty as charged.
        Defendant was sentenced to a term of 170 months imprisonment on counts one and
two,2 to be served concurrently, 120 months on counts four and five,3 to be served
concurrently with each other and with the sentence on counts one and two, and a term of
360 months imprisonment on count three4 to be served consecutively to the other terms
of imprisonment. (Doc. 68).
        He appealed, arguing that the evidence was insufficient to sustain one of his firearm
convictions and that the district court erred when it declined to suppress evidence seized
in a search of his residence and the government engaged in prosecutorial misconduct
during closing argument. (Doc. 110 at 2). The Eleventh Circuit affirmed. (Doc. 110).
        In the present motion, defendant raises several ineffective assistance of counsel
claims, asserts that the government introduced perjured testimony at trial and that there
was insufficient evidence to support a finding of guilt on count three. The government
opposes the motion in its entirety.




        1
            De fendan t was not charg ed in c oun t six of the indictm ent.

        2
            This sen tence was at the lower range of the applicable guidelines range. (Doc. 82 at 12).

        3
         This sentence was below the guidelines range because of the statutory maximum penalty. (Doc. 82
at 12-13).

        4
            This sen tence was the m andatory m inimum sentence set forth by law. (Doc. 82 at 13).

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II. LEGAL ANALYSIS
A. General Standard of Review
        Because collateral review is not a substitute for direct appeal, the grounds for
collateral attack on final judgments pursuant to § 2255 are extremely limited. A prisoner
is entitled to relief under section 2255 if the court imposed a sentence that (1) violated the
Constitution or laws of the United States, (2) exceeded its jurisdiction, (3) exceeded the
maximum authorized by law or (4) is otherwise subject to collateral attack. 28 U.S.C. §
2255; United States v. Phillips, 225 F.3d 1198, 1199 (11th Cir. 2000); United States v.
Walker, 198 F.3d 811, 813 n.5 (11th Cir. 1999). “Relief under 28 U.S.C. § 2255 ‘is reserved
for transgressions of constitutional rights and for that narrow compass of other injury that
could not have been raised in direct appeal and would, if condoned, result in a complete
miscarriage of justice.’” Lynn v. United States, 365 F.3d 1225, 1232 (11th Cir. 2004)
(citations omitted). “[A] non-constitutional error that may justify reversal on direct appeal
does not generally support a collateral attack on a final judgment, unless the error (1) could
not have been raised on direct appeal and (2) would, if condoned, result in a complete
miscarriage of justice.” Lynn, 365 F.3d at 1232-33 (citations omitted); Hill v. United States,
368 U.S. 424, 428, 82 S.Ct. 468, 7 L.Ed.2d 417 (1962) (error of law does not provide basis
for collateral attack unless claimed error constituted a “fundamental defect which inherently
results in a complete miscarriage of justice.”). The “fundamental miscarriage of justice”
exception recognized in Murray v. Carrier, 477 U.S. 478, 496, 106 S. Ct. 2678, 2649, 91
L. Ed. 2d 397 (1986), provides that it must be shown that the alleged constitutional violation
“has probably resulted in the conviction of one who is actually innocent. . . .”
        Although section 2255 mandates that the court conduct an evidentiary hearing
“unless the motion and files and records conclusively show that the prisoner is entitled to
no relief,” a defendant must support his allegations with at least a proffer of some credible
supporting evidence. Ferguson v. United States, 699 F.2d 1071, 1072 (11th Cir. 1983).
A hearing is not required on frivolous claims, conclusory allegations unsupported by
specifics, or contentions that are wholly unsupported by the record. Peoples v. Campbell,
377 F.3d 1208, 1237 (11th Cir. 2004); Tejada v. Dugger, 941 F.2d 1551, 1559 (11th Cir.

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1991); Holmes v. United States, 876 F.2d 1545, 1553 (11th Cir. 1989) (citations omitted).
Likewise, affidavits that amount to nothing more than conclusory allegations do not warrant
a hearing. Lynn, 365 F.3d at 1239.


B. Ineffective Assistance of Counsel Claims
        1. Standard of Review
        Ineffective assistance of counsel claims are generally not cognizable on direct
appeal and are properly raised by a § 2255 motion regardless of whether they could have
been brought on direct appeal. Massaro v. United States, 538 U.S. 500, 503, 123 S.Ct.
1690, 1693, 155 L.Ed.2d 714 (2003); see also United States v. Bender, 290 F.3d 1279,
1284 (11th Cir. 2002); United States v. Jiminez, 983 F.2d 1020, 1022, n. 1 (11th Cir. 1993).
To show a violation of his constitutional right to counsel, defendant must demonstrate both
that counsel’s performance was below an objective and reasonable professional norm and
that he was prejudiced by this inadequacy. Strickland v. Washington, 466 U.S. 668, 686,
104 S.Ct. 2052, 2064, 80 L.Ed.2d (1984); Williams v. Taylor, 529 U.S. 362, 390, 120 S.Ct.
1495, 1511, 146 L.Ed.2d 389 (2000). In applying Strickland, the court may dispose of an
ineffective assistance claim if defendant fails to carry his burden on either of the two
prongs. 466 U.S. at 697, 104 S.Ct. at 2069.
        In determining whether counsel’s conduct was deficient, this court must, with much
deference, consider “whether counsel’s assistance was reasonable considering all the
circumstances.” Id. at 688, 104 S.Ct. at 2065; see Atkins v. Singletary, 965 F.2d 952 (11th
Cir. 1992). “[R]eviewing courts must indulge a strong presumption that counsel’s conduct
fell within the wide range of reasonably professional assistance.” Yordan v. Dugger, 909
F.2d 474, 477 (11th Cir. 1990) (citing Harich v. Dugger, 844 F.2d 1464, 1469 (11th Cir.
1988); Chandler v. United States, 218 F.3d 1305, 1314 (11th Cir. 2000); Lancaster v.
Newsome, 880 F.2d 362, 375 (11th Cir. 1989) (emphasizing that petitioner was “not entitled
to error-free representation”)). Counsel’s performance must be evaluated with a high
degree of deference and without the distorting effects of hindsight. Strickland, 466 U.S.
at 689, 104 S.Ct. at 2065. To show counsel’s performance was unreasonable, a defendant

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must establish that “no competent counsel would have taken the action that his counsel
did take.” United State v. Freixas, 332 F.3d 1314, 1319-1320 (11th Cir. 2003). (quoting
Brownlee v. Haley, 306 F.3d 1043, 1059 (11th Cir. 2002)(quoting Strickland, 466 U.S. at
687, 689-90, 104 S.Ct. at 2064-66 and Chandler v. United States, 218 F.3d 1305, 1315
(11th Cir. 2000) (en banc)). When examining the performance of an experienced trial
counsel, the presumption that counsel’s conduct was reasonable is even stronger, because
“[e]xperience is due some respect.” Chandler, 218 F.3d at 1316 n. 18.
        With regard to the prejudice requirement, defendant must establish that, but for
counsel’s deficient performance, the outcome of the proceeding would have been different.
Strickland, 466 U.S. at 694, 104 S.Ct. at 2068. For the court to focus merely on “outcome
determination,” however, is insufficient; “[t]o set aside a conviction or sentence solely
because the outcome would have been different but for counsel’s error may grant the
defendant a windfall to which the law does not entitle him.” Lockhart v. Fretwell, 506 U.S.
364, 369-70, 113 S.Ct. 838, 122 L.Ed.2d 180 (1993). Defendant therefore must establish
“that counsel’s errors were so serious as to deprive the defendant of a fair trial, a trial
whose result is reliable.” Lockhart, 506 U.S. at 369 (quoting Strickland, 466 U.S. at 687).
Or in the case of alleged sentencing errors, defendant must demonstrate that there is a
reasonable probability that, but for counsel’s errors, the result of the proceeding would
have been less harsh due to a reduction in the defendant’s offense level. Glover v. United
States, 531 U.S. 198, 203-04, 121 S.Ct. 696, 700-01, 148 L.Ed.2d 604 (2001). A
significant increase in sentence is not required to establish prejudice, as “any amount of
actual jail time has Sixth Amendment significance.” Id.
        To establish ineffective assistance, defendant must provide factual support for his
contentions regarding counsel’s performance. Smith v. White, 815 F.2d 1401, 1406-07
(11th Cir.), cert. denied, 484 U.S. 863, 108 S.Ct. 181, 98 L.Ed.2d 133 (1987). Bare,
conclusory allegations of ineffective assistance are insufficient to satisfy the Strickland test.
Tejada v. Dugger, 941 F.2d 1551, 1559 (11th Cir. 1991); Stano v. Dugger, 901 F.2d 898,
899 (11th Cir. 1990) (citing Blackledge, 431 U.S. at 74, 97 S.Ct. at 1629).



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        Finally, the Eleventh Circuit has recognized that given the principles and
presumptions set forth above, “the cases in which habeas petitioners can properly prevail
. . . are few and far between.” Chandler v. United States, 218 F.3d 1305, 1313 (11th Cir.
2000). This is because the test is not what the best lawyers would have done or even what
most good lawyers would have done, but rather whether some reasonable lawyer could
have acted in the circumstances as defense counsel acted. Williamson v. Moore, 221 F.3d
1177, 1180 (11th Cir. 2000), cert. denied, 122 S.Ct. 234 (2001).


        2. Failure to Challenge Cumulative Charges
        Defendant first contends that counsel was ineffective because he failed to challenge
the “cumulative” counts of the indictment. Defendant refers to the charges under 18 U.S.C.
§ 924(c)(1)(B)(ii), possession of a firearm during and in relation to a drug trafficking offense
and 18 U.S.C. § 922(g), possession of a firearm by a convicted felon. Essentially, he
argues that he should not have been charged with or convicted of both offenses, because
they are multiplicitous, and hence his conviction of both charges is unconstitutional.
        In Blockburger v. United States, 284 U.S. 299, 52 S.Ct. 180, 76 L.Ed. 306 (1932),
the Supreme Court explained that “where the same act or transaction constitutes a
violation of two distinct statutory provisions, the test to be applied to determine whether
there are two offenses or only one, is whether each provision requires proof of a fact which
the other does not.” See Texas v. Cobb, 532 U.S. 162, 121 S.Ct. 1335, 149 L.Ed.2d 321
(2001) (citing Blockburger, 284 U.S. at 304, 52 S.Ct. 180); United States v. Hassoun, 476
F.3d 1181, 1185 (11th Cir. 2007). The Blockburger test is applied with a focus on the
statutory elements of the offense. “If each requires proof of a fact that the other does not,
the Blockburger test is satisfied, notwithstanding a substantial overlap in the proof offered
to establish the crimes.” Hassoun, 476 F.3d at 1185 (quoting Albernaz v. United States,
450 U.S. 333, 338, 101 S.Ct. 1137, 1142, 67 L.Ed.2d 275 (1981) (quoting Iannelli v. United
States, 420 U.S. 770, 785 n. 17, 95 S.Ct. 1284, 1293 n. 17, 43 L.Ed.2d 616 (1975)).
        In this case, count three, arising under 18 U.S.C. § 924(c), requires as an element
that defendant also commit a drug trafficking offense, whereas the § 922(g) charge does

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not. Similarly, the charge under 18 U.S.C. § 922(g) requires as an element that the
defendant has been previously convicted of a felony, whereas the § 924(c) charge does
not. Therefore, the crimes are neither cumulative nor multiplicitous, and counsel’s failure
to make a meritless objection does not entitle defendant to relief. See Brownlee v. Haley,
306 F.3d 1043, 1066 (11th Cir. 2002) (counsel was not ineffective for failing to raise non-
meritorious issue); Meeks v. Moore, 216 F.3d 951, 961 (11th Cir. 2000) (counsel not
ineffective for failing to make meritless motion for change of venue); Jackson v. Herring,
42 F.3d 1350, 1359 (11th Cir. 1995) (counsel need not pursue constitutional claims which
he reasonably believes to be of questionable merit); United States v. Winfield, 960 F.2d
970, 974 (11th Cir. 1992) (no ineffective assistance of counsel for failing to preserve or
argue meritless issue); Lancaster v. Newsome, 880 F.2d 362, 375 (11th Cir. 1989) (counsel
was not ineffective for informed tactical decision not to make what he believed was a
meritless motion challenging juror selection procedures where such a motion has never
been sustained because such a motion would not have been successful).


         3. Failure to Challenge Warrantless Search and Seizure
         Defendant next argues that counsel was ineffective because he failed to object to
a warrantless search and seizure. Defendant characterizes law enforcement’s initial entry
into his residence without a warrant as an unlawful search and seizure. The propriety of
law enforcement’s entry into defendant’s residence was the subject of the defendant’s
direct appeal.       The Eleventh Circuit found that due to exigent circumstances, law
enforcement properly entered into the defendant’s residence while the warrant was being
obtained. (Doc. 110 at 6-7). Thus, this issue has already been considered and decided
adversely to the defendant on direct appeal. The law is well established that a district court
need not reconsider issues raised in a section 2255 motion which have been resolved on
direct appeal. United States v. Nyhuis, 211 F.3d 1340, 1343 (11th Cir. 2000); Mills v.
United States, 36 F.3d 1052, 1056 (11th Cir. 1994), cert. denied, 514 U.S. 1112, 115 S.Ct.
1966, 131 L.Ed.2d 856 (1995); United States v. Rowan, 663 F.2d 1034, 1035 (11th Cir.
1981).      Once a matter has been decided adversely to a defendant on direct appeal, it

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cannot be re-litigated in a collateral attack under section 2255. Nyhuis, 211 F.3d at 1343
(quotation omitted). Broad discretion is afforded to a court's determination of whether a
particular claim has been previously raised. Sanders v. United States, 373 U.S. 1, 83 S.Ct.
1068, 10 L.Ed.2d 148 (1963) (“identical grounds may often be proved by different factual
allegations . . . or supported by different legal arguments . . . or couched in different
language . . . or vary in immaterial respects”).    The arguments raised by defendant in
support of this ground do not support a finding that counsel was constitutionally ineffective
in his challenge to the warrantless search. To the extent he claims in his reply brief that
he actually contests the timing of counsel’s challenge to the warrantless search, given that
the legality of law enforcement presence was upheld, he has not shown how the outcome
of the proceedings would have been altered had the search been challenged at a different
time.


        4. Concession of Prior Conviction/Possession of Methamphetamine
        Defendant’s first argument with respect to this ground for relief appears to be that
counsel was constitutionally ineffective because he agreed to stipulate to the fact that his
client was a convicted felon as it related to the charge in count five of the indictment.
Stipulation to a prior conviction to avoid more detailed proof of said conviction and the
possible prejudice emanating therefrom is a reasonable trial strategy. United States v.
Shea, 211 F.3d 658, 672 (1 st Cir. 2000). Counsel states in his affidavit that he believed
that conceding the issue of the prior conviction would result in less of an impact on the jury
than if the government had presented evidence on this issue. (Doc. 116, exh. B at 2).
Furthermore, the government had in its possession, and submitted to the court in the
Notice of Enhancement Information filed with the court, a certified copy of the prior
judgment and conviction for the offense that it could have introduced into evidence if
necessary. (Doc. 22 at 3). Thus, there was no conceivable prejudice to the defendant
from counsel’s decision to concede the prior conviction.
        Next, defendant claims that counsel was ineffective for conceding that the
methamphetamine seized from a co-defendant actually originated from the defendant.

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Defendant argues that this concession resulted in a “spill-over” of guilt to all counts
because if counsel admitted guilt as to one drug in a charge involving two substances, it
is “certain the jury is going to embrace guilt” on the counts as a whole. (Doc. 114, memo
at 5). This argument ignores the fact that the jury verdict form required the jurors to make
separate findings with respect to both the type and quantity of controlled substances.
(Doc. 49). Therefore, an admission with respect to one substance does not guarantee a
finding that the offense conduct also involved the other substance.
        Furthermore, the evidence at trial with respect to the methamphetamine was
overwhelming. The jury heard the defendant negotiating the delivery of methamphetamine
with a cooperating individual, who later testified at trial, over the telephone. (See Doc. 116,
Exh. A, at 13). The transaction in question was later captured on videotape, and transpired
just as had been discussed: a friend of the defendant’s would deliver the
methamphetamine to the cooperating individual at the arranged hotel room. In fact, the
co-defendant arrived as scheduled in the defendant’s vehicle for the transaction. What
defendant characterizes as a “concession of guilt” may have been little more than stating
the obvious.
        Concessions of guilt leading to allegations of counsel’s constitutional ineffectiveness
are not uncommon. In United States v. Dago, 441 F.3d 1238 (10th Cir. 2006), the
defendant maintained in a § 2255 motion that counsel was constitutionally ineffective
because in his closing argument he stated that the defendant should be convicted of
several counts of the indictment. A hearing had been held in the district court, but the
appellate court was hampered in its review because a transcript of counsel’s closing
argument was not included in the record, and thus it could not conclusively determine
whether counsel’s statements amounted to a concession of guilt. 441 F.3d at 1250. The
court found after review of the record that it was “possible that counsel did not concede
[defendant’s] guilt on many counts, . . . but merely focused on challenging the conspiracy
and CCE counts against his client while remaining silent about other counts.” 441 F.3d at
1251. The Dago court acknowledged that “[d]epending on the particular characteristics of
such an effort, this would not necessarily amount to ineffective assistance, for ‘experienced

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advocates since time beyond memory have emphasized the importance of winnowing out
weaker arguments and focusing on one central issue if possible. This insight is ...
applicable to closing arguments made at trial.’” 441 F.3d at 1251 (quoting United States
v. Williamson, 53 F.3d 1500, 1512 (10th Cir.1995) (quotations, alterations, and citations
omitted)). Thus, the court concluded that a defense attorney’s effort to obtain an acquittal
for his client on a conspiracy charge, rather than focusing on challenging the substantive
distribution charges, did not necessarily undermine counsel’s otherwise ethically and
constitutionally sufficient representation. Id., citing Williamson, 53 F.3d at 1512; see also
Fowler v. Ward, 200 F.3d 1302, 1310-11 (10th Cir. 2000) (finding no ineffective assistance
where counsel conceded the defendant's presence at the crime scene because the
concession was consistent with the defense theory that defendant was not the principal in
the alleged crime), overruled on other grounds, Moore v. Marr, 254 F.3d 1235, 1239 (10th
Cir. 2001); Hale v. Gibson, 227 F.3d 1298, 1323 (10th Cir. 2000) (holding that defense
counsel “made a reasonable strategic decision to concede some involvement by [the
defendant] ... and focused on the extent of his involvement and whether others could have
been involved”)). The court recognized, as the government argues in the instant case, that
“it is a time-honored strategy of advocates to cede evidence that cannot be rebutted so that
counsel has credibility to challenge evidence where challenge is fruitful.” 441 F.3d at 1252.
        In this case, the government argues that defense counsel’s strategic decision to
curry favor with the jury and to admit the virtually inescapable conviction on the drug
trafficking charges while contesting the firearms charges which carried a mandatory
consecutive term of 30 years imprisonment was not unreasonable. The fact that this
strategy ultimately was not successful is not the standard by which an ineffective
assistance of counsel claim is reviewed, as counsel’s performance must be evaluated with
a high degree of deference and without the distorting effects of hindsight. Strickland, 466
U.S. at 689, 104 S.Ct. at 2065. Similar concessions or partial concessions of guilt in
opening statements or closing argument have been upheld by other appellate courts. See
Hayes v. Cain, 272 F.3d 757, 762 n.14 (5th Cir. 2001) (“Where counsel acknowledges, in
closing argument, the overwhelming weight of evidence that has been admitted against his

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client, even conceding his client's guilt, we have found that such an acknowledgment of the
obvious may be a trial tactic that does not reach the level of ineffective assistance.”);
United States v. Short, 181 F.3d 620, 624-625 (5th Cir.1999) (finding counsel who
implicated his client in the drug trade during closing arguments took the reasonable
strategic approach of trying to establish his credibility with the jury and enhance his
chances that the jury would accept his arguments on the more serious counts, in light of
the overwhelming evidence of guilt adduced at trial); Underwood v. Clark, 939 F.2d 473,
474 (7th Cir.1991) (an acknowledgment of guilt can be a sound tactic when the evidence
is overwhelming, there is no reason to suppose that any juror doubts this, and the count
in question is a lesser count, so that there is advantage to be gained by winning the
confidence of the jury); Trice v. Ward, 196 F.3d 1151, 1162 (10th Cir. 1999) (no prejudice
where counsel conceded guilt as to a rape charge accused had confessed to, in an attempt
to persuade the jury his client was not guilty of more serious first degree murder charge);
United States v. Wilks, 46 F.3d 640, 644 (7th Cir. 1995) (concession of guilt in opening
statement was not prejudicial where evidence of guilt was irrefutable, accused did not
object and told court he was satisfied with the performance of his counsel); United States
v. Tabares, 951 F.2d 405, 409 (1st Cir.1991) (counsel’s admission to jury that defendant
was guilty of less serious offense “was a tactical decision, designed to lead the jury towards
leniency on the other charges and to provide a basis for a later argument for a lighter
sentence”); Underwood v. Clark, 939 F.2d 473, 474 (7 th Cir.1991) (reasonable trial tactic
for lawyer to “conced [e] client's guilt of offense of which the evidence was overwhelming,
and to focus his efforts on the weakest link in the [government’s] case”); McNeal v.
Wainwright, 722 F.2d 674, 676 (11th Cir. 1984) (no prejudice where the accused had
confessed on tape and counsel conceded guilt of lesser charge of manslaughter to defeat
government’s claim of premeditation). See also State v. McNeill, 346 N.C. 233, 485 S.E.2d
284 (N.C.1997) (no prejudice when defense stipulated to stabbing and accused agreed to
concession strategy) and People v. Johnson, 128 Ill.2d 253, 131 Ill.Dec. 562, 538 N.E.2d
1118 (1989) (no prejudice when counsel conceded guilt to a crime to which the accused
had confessed).

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        Based on this court’s review of the record and taking into account the evidence
presented, it finds that defendant has failed to show that “no competent counsel would
have taken the action that his counsel did take,” Freixas, 332 F.3d at 1319-1320, or that
but for counsel’s allegedly deficient performance, the outcome of the proceeding would
have been different. Strickland, 466 U.S. at 694, 104 S.Ct. at 2068. Therefore, he is not
entitled to relief.
        Within this same ground for relief, defendant also posits that there would be an
overwhelming probability that jurors will not adhere to limited instructions. The jury is
presumed to have followed the judge’s instructions. Hallford v. Culliver, 2006 459 F.3d
1193, (11th Cir. 2006); United States v. Calderon, 127 F.3d 1314, 1334 (11th Cir. 1997);
United States v. Wilson, 149 F.3d 1298, 1302 (11th Cir. 1998); United States v. Chandler,
996 F.2d 1073, 1088 (11th Cir. 1993); Raulerson v. Wainwright, 753 F.2d 869, 876 (11th Cir.
1985). Defendant has presented no cogent evidence to the contrary that would justify the
relief sought.
        5. Failure to obtain a “conditional plea”
        Defendant maintains that the plea agreement that was offered to him, ten to life on
each drug count and consecutive 30 year sentence on the gun count with mandatory
cooperation with the government, provided no relief. He contends that counsel should
have moved for a “conditional plea” to counts one and two, reserving the right to contest
the legality of the allegedly warrantless search and firearm in possession of the drug
conspiracy. This, he maintains, would have afforded him more effective representation and
would have spared him the “embarrassment” of a trial in open court.
        The government notes that Fed.R.Crim.P. 11(a)(2), upon which defendant relies,
requires the consent of the court and of the government for the entry of a conditional plea,
and that the government never discussed a conditional plea with the defendant or counsel.
Instead, as is typical in this district, the government provided the defendant with its
standard plea and cooperation agreement to plead “straight up” to the indictment. (Doc.
116, exh. B). While he may have wished to do so, he would not have been provided the
opportunity to plead to only some of the charges against him. And, although the Federal

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Rules provide for them, conditional pleas are not offered in this district. Contrary to
defendant’s suggestion in his reply brief, this fact does not entitle him to relief, and
counsel’s failure to secure or attempt to secure such a plea was not constitutionally
ineffective.


C. Knowing Introduction of Perjured Testimony by the Government
        Defendant contends that the government introduced perjured testimony with respect
to the allegedly warrantless search. As proof thereof, defendant offers as “mysteries” that
digital pictures taken at the time were “mysteriously” erased, and that there were
inconsistencies between the date of the warrant and the date the search took place.
Again, defendant attempts to challenge the validity of the search of his residence and the
seizure of controlled substances and firearms contained therein, this time by claiming that
the government knowingly used perjured testimony to bolster its defense of the search.
        In order to establish that the government violated the law by using perjured
testimony, the defendant “must establish that: (1) the prosecutor knowingly used perjured
testimony or failed to correct what he subsequently learned was false testimony; and (2)
such use was material–i.e., that there is ‘any reasonable likelihood’ that the false testimony
‘could . . . have affected the judgment.’” Davis v. Terry, 465 F.3d 1249, 1253 (11 Cir. 2006)
(quoting Giglio v. United States, 405 U.S. 150, 154, 92 S.Ct. 763, 766, 31 L.Ed.2d 104
(1972)).
        First, defendant has failed to establish the use of perjury at trial. Defendant’s
argument fails to distinguish the time when his residence was secured versus the time
when it was searched. The record reflects that the residence was secured well before the
arrival of the search warrant. The Eleventh Circuit upheld the securing of the residence
due to exigent circumstances. The defendant has presented no evidence that anything




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other than that which was testified to actually took place. Because both prongs of Giglio
must be met to establish a violation, defendant’s argument fails. 5
        Defendant also asserts, without factual support, that the government violated Brady
v. Maryland, 373 U.S. 83, 87, 83 S.Ct. 1194, 1196-1197, 10 L.Ed.2d 215 (1963). In Brady,
the Supreme Court held that the suppression by the prosecution of evidence favorable to
the accused upon request violates due process where the evidence is material either to
guilt or to punishment, irrespective of the good faith or bad faith of the prosecution. His
conclusory assertion does not entitle him to relief.


D. The Government failed to Prove Mens Rea with respect to the § 924(c) Charge
        Defendant argues that the government did not establish the requisite mens rea with
respect to the § 924(c) charge to prove that the weapon was used in furtherance of the
drug trafficking offense. On appeal he also argued that he should not have been convicted
of possession of the firearms because there was no evidence that he had control or
dominion over the room in which they were located, there was no evidence that he actually
possessed them, or even that he knew they were in the house. (Doc. 110 at 5). The
appellate court rejected that argument and he will not be permitted to relitigate it in this
forum. See Nyhuis; Mills, supra.




        5
         The government suggests that regardless of the timing of law enforcement entry into the residence,
the evidence would have been seized and produced at trial, such that the final judgment could not have been
affected. This argument appears to run contrary to the position that there were exigent circumstances
requiring entry into the house to prevent destruction of evidence so it could be preserved for trial. However,
because Giglio is a two-part test, this is not dispositive.

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        Based on the foregoing, it is respectfully RECOMMENDED:
        The motion to vacate, set aside, or correct sentence (doc. 114) be DENIED.


        At Pensacola, Florida, this 18th day of April, 2007.




                                             /s/   Miles Davis
                                                   MILES DAVIS
                                                   UNITED STATES MAGISTRATE JUDGE



                                        NOTICE TO THE PARTIES

Any objections to these proposed findings and recommendations must be filed within ten
days after being served a copy thereof. Any different deadline that may appear on the
electronic docket is for the court’s internal use only, and does not control. A copy
of objections shall be served upon all other parties. Failure to object may limit the scope
of appellate review of factual findings. See 28 U.S.C. § 636; United States v. Roberts, 858
F.2d 698, 701 (11th Cir. 1988).




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